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                               FOR THE F OURTH C IRCUIT


                                          No. 22-6748


                              U NITED S TATES OF A MERICA ,
                                            Appellee,
                                                v.

                           N ATHANIEL A. R ICHARDSON , J R .,
                                           Appellant.


                           Appeal from the United States District Court
                               for the Eastern District of Virginia
                                           at Norfolk
                        The Honorable Raymond A. Jackson, District Judge


                                B RIEF OF THE U NITED S TATES


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                                           Introduction

              Defendant led a multi-year drug-trafficking enterprise that distributed over

        26 kilograms of crack cocaine, had a lengthy criminal history, and engaged in

        violence, including killing the mother of one of his children. Defendant’s leading

        conviction, a continuing criminal enterprise (CCE) offense, was unaffected by the

        Fair Sentencing Act. And under the current guidelines, defendant continues to have

        an advisory sentencing range of life imprisonment.

              On remand from this Court, the district court left in place defendant’s life

        sentence for the CCE conviction but reduced his sentence on one concurrent count

        from life to 30 years for count three, which charged that on a single day, May 1,

        1995, he possessed with intent to distribute 50 grams or more of crack cocaine.

        That offense arose from the execution of a search warrant in which police found

        that defendant had 642.5 grams of crack, a quantity that exceeds the new threshold

        of 280 grams in the Fair Sentencing Act. Across numerous other cases, the district

        court has expressly stated its view that, when a defendant has a covered offense

        under § 404, the court may, in its discretion, reduce the sentence on other counts.

                                          Issue Presented

              Did the district court abuse its discretion in denying defendant a sentence

        reduction for his continuing criminal enterprise conviction?




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                                         Statement of the Case

                 A.    Defendant led a vast criminal enterprise responsible for
                       distributing over 26 kilograms of crack cocaine.

                 Leading up to the summer of 1992, defendant “ascend[ed] from street

        hustler to major drug distributor.” United States v. Richardson, 1998 WL 546096,

        at *3 (4th Cir. 1998) (unpublished), cert. granted, judgment vacated on other

        grounds, 526 U.S. 1155 (1999) (Richardson I). Then, for several years in the early

        and mid-1990’s, defendant “organized and operated a continuing drug trafficking

        operation in the Southside Gardens area of Portsmouth, Virginia.” Id. at *1.

        Defendant “was the boss of” this “well-planned and intricate drug trafficking

        enterprise,” with “several underlings, a major supplier, and a network of

        distribution” that utilized “various apartments throughout the Portsmouth area.” Id.

        at *4.

                 Defendant “enforced his authority through violence.” Id. at *4. Specifically,

        defendant “used weapons to intimidate and enforce order during the period of the

        continuing drug enterprise.” Id. For example, defendant “shot at [one of his

        distributors] when she failed to pay for cocaine he had previously fronted her.” Id.

        at *5 (citation omitted). Defendant also possessed firearms, sometimes

        “commingled with cash” on several occasions. Id. Additionally, while “actively

        engaged in the sale and distribution of narcotics,” defendant “lead law enforcement

        officers on a high speed pursuit through the City of Portsmouth.” Id. at *6. In short,
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        the operation involved hundreds of individual drug transactions, as well as multiple

        instances of violence and firearm possession.

              B.    Defendant is convicted of multiple felony offenses
                    following trial.

              In July 1996, a grand jury returned a 16-count indictment against multiple

        defendants. JA20. Defendant was charged with the following:

              Count 1        Conspiracy to distribute crack cocaine and heroin, in violation

                             of 21 U.S.C. § 846.

              Count 2        Continuing criminal enterprise, in violation of 21 U.S.C. § 848.

              Count 3        Distribution and possession with intent to distribute crack

                             cocaine, in violation of 21 U.S.C. § 841(a)(1).

              Count 10       Using a firearm in furtherance of a drug-trafficking conspiracy,

                             in violation of 18 U.S.C. §§ 924(c), 2.

              Count 15       Money laundering, in violation of 18 U.S.C. § 1956(a)(1)(B).

              Count 16       Money laundering, in violation of 18 U.S.C. § 1956(a)(1)(B).

        JA20–41.

              Following an eight-day jury trial before the Honorable Raymond A. Jackson,

        defendant was convicted of all counts except for count 10, of which he was

        acquitted. JA327.

              The probation office prepared a presentence report (PSR). JA325-376. The

        PSR originally attributed 26.13 kilograms of cocaine base to defendant and added
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        two points for possessing a dangerous weapon, yielding a base offense level of 40

        for counts 1 and 3. JA367. With a four-point enhancement for his leadership role in

        the conspiracy, and two two-point enhancements for obstructing justice,

        defendant’s adjusted offense level was 48. Id. For count 2, his base offense level

        was 44—the offense level from counts 1 and 3, plus four points, see U.S.S.G.

        § 2D.15(a)(1) (1995). JA368. With the same four points for obstructing justice, his

        adjusted offense level was also 48. Id. 1 All of the counts grouped, yielding a

        combined adjusted offense level of 48. JA370.

               The PSR recounted defendant’s approximately 33 prior arrests, resulting in

        approximately 29 convictions over 14 separate occasions. JA371–72. His prior

        arrests included murder, manslaughter, malicious wounding, use of a firearm, hit

        and run, and multiple assaults and batteries. JA348–51.

               One such arrest in February 1994 was for the assault and battery of Telisha

        Johnson, the mother of one of defendant’s two daughters. The battery involved

        allegations of defendant squeezing Ms. Johnson’s neck with his legs and knocking

        an eleven-year-old to the ground for having attempted to intervene. JA349–50. Ms.

        Johnson advised authorities in June 1994 that she no longer wanted the case

        prosecuted. JA350. Ms. Johnson’s mother reported that defendant had a history of


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             Defendant’s adjusted offense level for the money-laundering counts, counts
        15 and 16, was 29; that offense level did not affect his guideline range. JA369.

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        assault against her daughter, including times when he hit her, ran her vehicle off

        the road, and put a gun to her head. JA353. Nine months after Ms. Johnson

        declined to participate in the prosecution, defendant was arrested for having killed

        Ms. Johnson. Id. The death was described as an accidental shooting, and defendant

        was convicted of involuntary manslaughter. JA346.

              Defendant also had three convictions for assault and battery. JA343–35, 347.

        In one such instance, in January 1996, the defendant entered Maryview Hospital

        with a subject in his arms that had a gunshot wound. Defendant stated, “The bitch

        was cutting my tires so I started shooting.” JA347. A Portsmouth Police Officer

        who was at the hospital, ordered defendant to lay the victim down. Defendant

        swung his fist at the officer’s face and arm and tried to elude him. Defendant then

        broke the glass to a fire prevention case and, after he was subdued, told the officer,

        “wait ‘till I f**king find your ass on the street, you’re gonna die bitch … f**k

        you.” Id.

              Defendant had nine criminal-history points for his prior convictions and two

        points for committing the current offenses while serving a sentence in another case,

        resulting in a criminal-history category of V. JA372–73. Defendant’s then-

        mandatory guidelines range was a life imprisonment. JA374.

              Defendant raised numerous objections to the factual findings and

        enhancements in the PSR. JA360–63 (raising approximately 28 objections). On


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        January 24, 1997, the district court conducted a lengthy sentencing hearing,

        addressing defendant’s objections one by one. See generally JA42–151. After

        hearing testimony from the case agent, JA117–35, the court overruled nearly every

        one of defendant’s objections. Notably, the court sustained defendant’s objection

        to one of the two two-point obstruction enhancements, JA138–39, bringing the

        adjusted offense levels for counts 1, 2 and 3 down to 46 from 48. 2 The court also

        sustained in part an objection to paragraph 20 of the PSR, amending it to read that

        defendant would supply approximately one kilogram of crack cocaine weekly to

        one of his confederates, not “approximately one to two kilograms weekly.” JA62,

        330–31. The court also sustained an objection to paragraph 33 after the

        government acknowledged that approximately one-eighth, or 0.125, of a kilogram

        of crack cocaine was double counted with paragraph 31. JA69–70; see JA333.

        Ultimately, the weight of crack cocaine attributed to defendant was 26.01

        kilograms, down from 26.13. JA367. This change did not affect his offense level.

                After vacating count 1 as a lesser-included offense of count 2, the court

        sentenced defendant to an aggregate life sentence: life imprisonment on counts 2

        and 3, and 240 months of imprisonment on counts 15 and 16, to be served

        concurrently. JA161, 163–66.



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               This change did not affect the ultimate guidelines range of life imprisonment.

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               C.    Defendant’s convictions and sentence are upheld on
                     appeal.

               Defendant’s direct appeal, consolidated with those of two co-defendants,

        raised a number of issues, all of which were rejected by this Court. See

        Richardson I, 1998 WL 546096. These included challenges to (1) the exclusion of

        prospective jurors under Batson v. Kentucky, 476 U.S. 79 (1986); (2) the admission

        of evidence of illicit conduct predating the date range in the indictment; (3) the

        sufficiency of the evidence for his conviction for a continuing criminal enterprise

        (CCE); (4) the denial of a defense instruction regarding the CCE charge; (5) the

        two-point enhancement for using a dangerous weapon and remaining two-point

        enhancement for obstruction; and (6) a CCE jury unanimity instruction as to the

        underlying violations. See id.; id. n.2. Notably, while his co-defendant Jermaine

        Golden “challenge[d] the attribution to him of 2.01 kilograms of cocaine as

        recommended in the presentence report,” id., defendant did not seek review of the

        district court’s many denials of his challenges to the drug quantities attributed to

        him.

               In June 1999, the United States Supreme Court vacated the decision in

        Richardson I and remanded for further consideration in light of (Eddie)

        Richardson, 526 U.S. 813 (CCE conviction requires jury unanimity as to

        individual underlying violations). Richardson v. United States, 526 U.S. 1155

        (1999). In November 2000, this Court once again affirmed. United States v.
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        Richardson, 233 F.3d 223, 230 (4th Cir. 2000) (Richardson II). This Court held

        that defendant could not establish plain error from the lack of a unanimity

        instruction; there was “affirmative evidence of hundreds of substantive felony

        violations of the federal drug laws in which Richardson either possessed, sold,

        bought, or prepared crack cocaine or other illegal drugs.” Id. at 230; see also id. at

        230 n.7 (listing dozens of examples of defendant’s drug transactions established at

        trial). Because “[t]he proof against [defendant] was simply overwhelming,” he

        could not establish prejudice from the instructional error. Id. 3

                This Court affirmed the denial of defendant’s various motions for post-

        conviction relief. United States v. Richardson, 100 F. App’x 909 (4th Cir. 2004)

        (per curiam); United States v. Richardson, 585 F. App’x 245 (4th Cir. 2014) (per

        curiam). See also JA231–32 (recounting multiple unsuccessful trial-court motions).

                D.    Defendant seeks a discretionary sentence reduction under
                      the Fair Sentencing Act and First Step Act.

                In April 2019, defendant moved for a sentence reduction. JA172–85.4 He

        argued that he was eligible for a sentence reduction because the jury was required

        to find that he was responsible for only 50 grams of crack cocaine to convict on


            This Court also rejected challenges under the recently decided Apprendi v.
            3

        New Jersey, 530 U.S. 466 (2000). Richardson II, 233 F.3d at 231–32.
            4
             Defendant also moved for a sentence reduction under 18 U.S.C. § 3582(c)(2),
        see JA232–34, the denial of which defendant does not challenge on appeal.

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        Count 3. JA180–81. Defendant claimed that “the drug quantity ultimately

        attributed to him by the probation officer was contested,” and that “the Court never

        resolved or specifically resolved the objection by making a specific finding on the

        total quantity of drugs attributed to him.” JA182. He briefly argued that he

        deserved a reduction because he had “for the most part stayed out of trouble and

        avoided serious disciplinary infractions,” and “worked regularly and participated in

        and completed a number of educational, vocational and rehabilitative classes and

        programs.” JA183–84.

              In April 2019, the government opposed defendant’s motion for a sentence

        reduction. JA194–212. The government argued that defendant was not eligible for

        relief. Relying on its then-existing position that because count 3 involved well in

        excess of 280 grams, the government argued that the Fair Sentencing Act did not

        alter the statutory penalty range, and therefore count 3 was not a covered offense.

        JA198–99. The Supreme Court’s opinion in Terry v. United States, 141 S. Ct. 1858

        (2021), resolves that count 3 is a covered offense.

              The government also argued in the alternative that the court should deny

        relief in the exercise of its discretion. JA200–01. Pointing to defendant’s (1)

        extensive prior criminal history, (2) weak education and work records, and (3)

        leadership role in this sprawling and violent drug conspiracy, the government

        argued that defendant did not merit a sentence reduction even if he were eligible


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        for relief. In short, defendant was “not the type of defendant who should receive

        reconsideration of his sentence.” JA201.

               In July 2019, the district court denied the motion. JA230. The district court

        agreed that defendant “initially qualifie[d] for relief under the FIRST STEP Act,”

        because his conviction for distributing crack cocaine in count 3 was a covered

        offense. JA234. However, the court chose to exercise its “broad discretion”

        conferred by the First Step Act to deny relief. JA235. The court found that “[a]s the

        organizer of the drug conspiracy, [defendant’s] offense involved not just drugs, but

        a long series of violent acts, including assaulting people, shooting people,

        threatening them, and offering money to kill a witness.” JA235 (citations omitted).

        Additionally and “[m]ost notably, [defendant] had a criminal history category of V,

        the second highest in the guidelines,” because he had “been convicted of three

        separate assault and battery charges,” and “involuntary manslaughter in the

        accidental shooting of the mother of one of his children.” Id. (citations omitted).

        “And yet,” the court noted, “in his pro se filings, [defendant] state[d] that he ‘does

        not have a significant criminal history,’” which the court found troubling. Id. The

        court thus denied relief in its discretion. Id.

               Defendant moved for reconsideration. JA237–49. He claimed that the

        conspiracy he led did not involve “many or significant violent acts, assaults or

        people being shot.” JA244. Defendant acknowledged that his “criminal history


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        certainly exists,” but argued that the court was wrong to rely on it in denying relief

        because defendant’s original sentence was driven by the “amount of crack cocaine

        and the resulting guideline range” JA241. Defendant objected to the court’s

        reference to defendant “offering money to kill a witness” because the court had

        sustained an objection to an obstruction enhancement predicated on that allegation.

        JA244. He reiterated that he “was involved in a fight and had possession of

        intoxicants 22 years ago” but had avoided serious disciplinary infractions since

        then, and provided additional exhibits regarding education and programming while

        incarcerated. JA243, 245–47. Defense counsel, “fall[ing] on his sword,”

        acknowledged that the original motion had “failed to sufficiently highlight and

        address” defendant’s post-offense rehabilitation. JA245 n.2.

              On November 12, 2019, the district court denied the motion for

        reconsideration. JA287–92. The court reiterated its holding that defendant was

        eligible for consideration for relief, but found that “the [18 U.S.C.] § 3553(a)

        factors continue to weigh against” a sentence reduction. JA291. The court

        acknowledged that defendant “was originally sentenced under a since-rejected

        sentencing scheme that was applied in a draconian manner to other crack cocaine

        defendants,” and noted defendant’s rehabilitative efforts while in prison. Id. But

        these “d[id] not outweigh [defendant’s] offense conduct and his criminal history

        category,” especially where defendant “was the singular leader of a massive and


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        pervasive continuing criminal enterprise.” Id.

              On November 26, 2019, defendant noted an appeal to this Court. JA293. On

        appeal, defendant contended that the district abused its discretion in evaluating

        sentencing disparities under 18 U.S.C. § 3553(a)(6). Defendant did not argue that

        leaving in place his sentence on count 3 exceeded the applicable statutory

        maximum, and defendant had not raised such a claim in the district court.

              On July 8, 2021, this Court reversed the district court’s ruling and concluded

        that “erred by not resentencing [defendant], on Count 3, to—at most—40 years’

        imprisonment,” JA297–98 (citing United States v. Collington, 995 F.3d 347, 357

        (4th Cir. 2021)). The Court acknowledged that defendant “did not raise this

        argument on appeal.” JA298 n.1. Nor had the issue been raised in the district court.

        This Court also did not request supplemental briefing or otherwise provide advance

        notice of the issue it was raising. In raising the issue sua sponte, the court invoked

        a case that did not bless deciding an issue without briefing. Id. (citing Wash. Gas

        Light Co. v. Va. Elec. & Power Co., 438 F.2d 248, 250–51 (4th Cir. 1971)). Wash.

        Gas Light Co. also predated United States v. Sineneng-Smith, 140 S. Ct. 1575

        (2020). Sineneng-Smith rejected a ruling by a court of appeals that raised an issue

        on a defendant’s behalf—even though the court of appeals had decided that issue

        after affording the parties briefing.

              Recently, this Court heard oral argument on whether Collington’s rule about


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        the applicable statutory maximum was abrogated by Concepcion v. United States,

        142 S. Ct. 2389 (2022). See United States v. Reed, No. 19-7368 (oral argument

        held Oct. 28, 2022). In the government’s view, Collington is no longer valid

        precedent. Moreover, Collington itself did not squarely answer how the applicable

        drug quantity for a given count would be determined. Although count 3 charged

        that defendant and Joseph Ricky Dodd possessed with intent to distribute 50 grams

        or more of crack cocaine, JA32, that count arose from the execution of a search

        warrant in which police recovered 642.5 grams of crack, JA336, a quantity well in

        excess of the new threshold of 280 grams in the Fair Sentencing Act.

              On June 13, 2022, without receiving additional briefing, the district court

        issued a post-remand order granting in part and denying in part defendant’s First

        Step Act motion. JA302–22. The court conducted a “complete review on the

        merits,” JA307 (citing United States v. Lancaster, 991 F.3d 171, 174 (4th Cir.

        2021)), before reducing defendant’s sentence for distribution of crack cocaine in

        count 3 to 360 months of incarceration, JA322.

              In granting a reduction, the district court acknowledged that defendant’s

        advisory guideline range remained unchanged and continues to be life

        imprisonment and that his CCE conviction is not a covered offense under United

        States v. Thomas, 32 F.4th 420 (4th Cir. 2022) (per curiam), and is unaffected by

        the Fair Sentencing Act. The court left unchanged the sentence for the CCE


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        conviction.

              In conducting its review, the district court noted that Collington “mandated

        several steps district courts must take to ensure that the evaluation of the merits is

        procedurally and substantively reasonable.” JA307–08 (citation and internal

        quotation marks omitted). These included (1) determining “the new statutory range

        set by any amended statutory minimums and maximums”; (2) “recalculat[ing] the

        Sentencing Guidelines range by correcting original Guidelines errors and applying

        intervening case law made retroactive to the original sentence”; and (3)

        “reconsider[ing] the 18 U.S.C. § 3553(a) factors,” including accounting for post-

        sentencing conduct. JA308 (citations omitted).

              The court addressed and explicitly rejected defendant’s arguments regarding

        the amount of crack cocaine attributable to him. JA310–11 & n.4 (exhaustively

        reviewing the PSR and sentencing transcript, finding that defendant was

        responsible for “26.00237 kilograms of cocaine base, precisely, not including the

        quantity of heroin converted for sentencing,” and rejecting defendant’s argument

        “that ‘the record does not establish that [he] was explicitly held responsible for 26

        kilograms of cocaine base, or any other quantity other than more than 1.5

        kilograms of cocaine base’” (citation omitted, brackets in original)); see also

        JA317 (rejecting arguments that defendant should be responsible for lower weights

        because the government was not required to prove the 26 kilograms to the jury and


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        did not need to establish that weight to reach the maximum offense level under the

        1995 guidelines). The court accordingly determined that defendant’s offense level

        for count 3 (distribution of crack cocaine)—and by extension count 2 (CCE)—

        remained the same, level 46. JA311. Defendant’s now-advisory Guidelines range

        thus remained life imprisonment, JA311–12, restricted under the terms of this

        Court’s remand to 480 months of incarceration on Count 3, JA318.

              The court then went back through the 18 U.S.C. § 3553(a) factors, this time

        finding that they warranted a sentence reduction as to Count 3, the count that

        involved a single instance on May 1, 1995, of possessing crack cocaine with intent

        to distribute. JA318–21. On one hand, defendant’s broader offense conduct, which

        included large amounts of controlled substances and violence with firearms,

        remained “unquestionably serious.” JA318–19. Likewise, defendant’s criminal

        history was “extensive.” JA319. Defendant also incurred two significant

        infractions while incarcerated. JA320.

              On the other hand, defendant joined the conspiracy when he was

        approximately 20 years old and had spent more than half of his life incarcerated for

        these offenses. JA320. Defendant earned his GED while incarcerated and had

        completed additional programming. JA320–21. The court also considered that

        defendant was the last remaining to-conspirator to be incarcerated. JA321. But the

        court recognized that all of the other co-defendants were responsible for


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        significantly lower drug weights and, unlike with defendant, all of their guidelines

        ranges were lowered by Amendment 782. Id. Thus, considering defendant’s

        “amended statutory sentencing range [as to count 3], youth at the time of the

        covered offense, age, support system, and the need to avoid sentencing disparities,”

        the court found a partial sentence reduction to 360 months on count 3 appropriate.

        JA321–22. The court left unchanged all other aspects of defendant’s sentence.

        JA322.

              On June 26, 2022, defendant noted the current appeal. JA323. The following

        day, June 27, 2022, the Supreme Court issued its decision in Concepcion v. United

        States, 142 S. Ct. 2389 (2022). See id. at 2402 & n.6 (“the First Step Act

        specifically requires district courts to apply the legal changes in the Fair

        Sentencing Act when calculating the Guidelines if they chose to modify a

        sentence,” but a court “cannot … recalculate a movant’s benchmark Guidelines

        range in any way other than to reflect the retroactive application of the Fair

        Sentencing Act”).

                                      Summary of Argument

              The district court acted well within its discretion in declining to reduce

        defendant’s life sentence for his conviction for a continuing criminal enterprise.

        The Fair Sentencing Act did not modify the statutory penalty range for that

        offense, and defendant’s guideline remains today life imprisonment. His offense


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        conduct was serious—involving the distribution of over 26 kilograms of crack—

        and was advanced through violence. Defendant also has an extensive and violent

        criminal history.

              In declining to reduce defendant’s sentence on count 2, the district court

        acted in keeping with its earlier discretionary denial of relief. Any claim that the

        district court believed that it lacked discretion to reduce the sentence on count 2

        conflicts with multiple rulings from the district court in other cases and the court’s

        own prior ruling in this case. This Court’s decision to remand this case was also in

        error, and defendant’s life sentence on count 2 should be simply affirmed.

                                             Argument

              Given that the statutory maximum for defendant’s conviction for a
              continuing criminal enterprise was unaffected by the Fair Sentencing
              Act and that his guidelines remain life imprisonment, the district court
              did not abuse its discretion in declining to reduce that sentence.

              Defendant contends that the district court abused its discretion in declining

        to reduce his sentence for his CCE conviction in count 2. Defendant does not

        dispute that the Fair Sentencing Act had no effect on the statutory penalties for his

        CCE conviction, and he does not dispute that his advisory guideline range remains

        to this day life imprisonment. Rather, he seeks to leverage the district court’s

        decision to reduce his sentence on count 3 to claim that the district court erred in

        declining to reduce his sentence on count 2. He places great weight on a phrase in

        the district court’s opinion after it noted that the CCE conviction is not a covered
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        offense in which the district court stated that count 2 “is ineligible for review on

        the merits.” JA313–14. But the district court did not abuse its discretion.

              First, defendant’s claim that the district court believed it was barred from

        reducing his sentence on count 2 cannot be squared with the district court’s

        original ruling on his § 404 motion, denying relief in the court’s discretion on all

        counts. Defendant did not claim in his last appeal that the district court believed

        that it faced some legal bar to reducing his sentence on count 2, nor is there any

        basis to make such a claim about the district court’s original denial—or its denial

        on reconsideration before the first appeal. As the district court explained, “Quite

        simply, legal eligibility for a sentence reduction does not create entitlement to a

        sentence reduction, particularly when the § 3553(a) factors continue to weigh

        against the Court’s grant of a reduction.” JA291.

              Second, in other cases, the district court has made plain its view that it

        believes that, when a district court has one covered offense, the court may revisit

        the sentence on other counts that are not covered offenses. See, e.g., Jones v.

        United States, 431 F. Supp. 3d 740, 752 (E.D. Va. 2020) (Jackson, J.) (Under

        § 404, “the Court is imposing a new sentence on Petitioner. Therefore, it is as if

        Petitioner has not been sentenced. Because ‘a sentence is not merely the sum of its

        parts,’ and district courts impose ‘sentence[s] by considering all of the relevant

        factors as a whole,’ when a new sentence is imposed, a whole sentence on all


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        counts should be imposed.”) (quoting United States v. Hadden, 475 F.3d 652, 751–

        52 (4th Cir. 2007)); see also Wright v. United States, 425 F. Supp. 3d 588, 598

        (E.D. Va. 2019) (same). Indeed, in United States v. Reed, No. 19-7368, pending

        before this Court, the district court adopted the view that is consistent with its

        rulings in Jones and Wright that a district court ruling on a § 404 motion has the

        authority to revisit statutory mandatory penalties for 18 U.S.C. § 924(c). See

        United States v. Reed, No. 4:96-cr-22-RAJ, Doc. 460 at 6–7.

              The district court’s decision to decline to reduce the sentence on count 2

        should be viewed against district court’s consistently expressed views about its

        authority to reduce sentences for a count that is not a covered offense when a

        defendant has other convictions that are covered offenses. Indeed, the district court

        has an overly expansive view of its power to alter sentences on other counts.

              Contrary to the district court’s view in Reed, a district court may not revisit

        statutory mandatory minimums that are unaffected by the Fair Sentencing Act. See,

        e.g., United States v. Gravatt, 953 F.3d 258, 264 n.5 (4th Cir. 2020) (“Even if a

        defendant’s sentence involves a covered offense, the district court’s review of a

        defendant’s First Step Act motion cannot avoid those statutory requirements” that

        are unaffected by the Fai Sentencing Act).

              Moreover, although Concepcion filled in background principles of

        sentencing law where § 404 did not expressly address a topic, the Supreme Court


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        required a district court to adhere to statutory commands that govern a sentencing

        and are unaffected by § 404’s text. “[T]he scope of judicial discretion with respect

        to a sentence is subject to congressional control.” Concepcion, 142 S. Ct. at 2400

        (quoting Mistretta v. United States, 488 U.S. 361, 364 (1989)). Thus, for example,

        18 U.S.C. § 3661, governs a § 404 motion, placing “[n]o limitation” on “the

        information concerning the background, character, and conduct of a person

        convicted of an offense” that a court may consider when deciding what sentence to

        impose. Id. Nor did Concepcion adopt the view that a § 404 motion is a de novo

        resentencing.

              Defendant’s CCE conviction on count 2 had a statutory penalty range of 20

        years to life, so the life sentence on count 2 was not compelled by statute. But the

        district court’s ruling before defendant’s first § 404 appeal plainly accorded with

        that understanding, and the district court simply denied relief in its discretion. The

        district court’s ruling on remand should be viewed as not disturbing its original,

        correct discretionary denial of relief on count 2.

              Third, when this Court reversed and remanded, that reversal was in error,

        and the United States never received an opportunity to object. As this Court’s

        ruling in Reed should show, the Supreme Court’s intervening decision in

        Concepcion after the remand in this case abrogates Collington’s rule about the

        applicable statutory maximum that this Court applied in defendant’s first § 404


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        appeal. Other precedent reinforces that result.

              In United States v. Payne, —F.4th—, 2022 WL 17333795 (4th Cir. Nov. 30,

        2022), this Court held that the plain language of § 404 of the First Step Act permits

        sentence reductions but does not alter criminal liability. Section 404 “operates as a

        ‘sentence reduction statute’ and ‘does not undermine the nature or validity of

        convictions even for ‘covered offenses.’” Id. at *3 (quoting United States v.

        Fletcher, 997 F.3d 95, 98 n.3 (2d Cir. 2021)). Thus, § 404 “does not ‘authorize a

        judge … to vacate a conviction for a more serious offense and ‘enter an amended

        judgment for’ a less serious offense.” Id. That means that under § 404, a 50-gram

        crack conspiracy remains an offense punishable under 21 U.S.C. § 841(b)(1)(A).

        The offense’s classification is unchanged, and § 404 simply authorizes a

        discretionary sentence reduction. Again, § 404 “did not ‘expressly’ extinguish

        liability for pre-Fair Sentencing Act offenses; it did ‘not undermine the nature or

        validity of convictions.” Payne, 2022 WL 17333795 at *3 (quoting Fletcher, 997

        F.3d at 98 n.3).

              Payne’s ruling that § 404 does not alter criminal liability works in tandem

        with § 404(c), providing that “[n]othing in this section shall be construed to require

        a court to reduce any sentence pursuant to this section.” Because criminal liability

        for a 50-gram crack conspiracy is unchanged, a district court need not reduce the

        sentence for such an offense to fall within the penalty range in § 841(b)(1)(B).


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                In Concepcion, the Supreme Court in construing § 404 applied background

        principles of sentencing law only where the text of § 404 did not answer the

        question. But as Payne demonstrates, the text of § 404 does answer two

        questions—criminal liability is unaltered, and “nothing” in § 404 requires a court

        to reduce “any sentence.” Payne’s correct interpretation of the text of § 404 shows

        that Concepcion did abrogate that aspect of Collington that requires sentences for

        covered offenses to be reduced to fall within the lower penalty range.

                The law-of-the-case doctrine “does not apply if the court is ‘convinced that

        [its prior decision] is clearly erroneous and would work a manifest injustice.’”

        Pepper v. United States, 562 U.S. 476, 506–07 (2011) (citation omitted). Similarly,

        the remedy when a court violates the principle of party presentation is simply to

        delete the issue that the court improperly decided. Sineneng-Smith, 140 S. Ct. at

        1582.

                Because there was no valid basis to remand defendant’s case in the first

        appeal, and the remand left in place the life sentence on count 2, there is no basis to

        disturb the district court’s now repeated denial of a reduction in the life sentence

        on count 2. Aside from this Court’s remand on the statutory maximum for count 3,

        this Court’s opinion in the last appeal identified no error in the sentence on count

        2, and defendant should obtain no greater rights when the sentence on count 2 was

        reaffirmed by the district court on remand. Defendant has not renewed his


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        challenge in his earlier appeal about the district court’s consideration of

        unwarranted disparities.

              Nor was that argument meritorious. First, as courts have explained, the

        appropriate standard for evaluating disparities is a nationwide standard, and the

        most meaningful, systematic nationwide standard is provided by the sentencing

        guidelines. “A sentence within a Guideline range ‘necessarily’ complies with [18

        U.S.C.] § 3553(a)(6).” United States v. Franklin, 785 F.3d 1365, 1371 (10th Cir.

        2015) (quoting United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009)). Here,

        the district court specifically took into account the guidelines and declined to

        reduce defendant’s sentence.

              When the Supreme Court vested very broad discretion in each individual

        sentencing judge, that grant of authority inevitably does yield highly individualized

        sentencing decisions. The Supreme Court itself has made this clear.

                In Gall v. United States, 552 U.S. 38 (2007), the United States challenged a

        district court’s downward variance from the guidelines and invoke § 3553(a)(6).

        The Supreme Court rejected the appeal to § 3553(a)(6). “As with the seriousness of

        the offense conduct, avoidance of unwarranted disparities was clearly considered

        by the Sentencing Commission when setting the Guidelines ranges. Since the

        District Judge correctly calculated and carefully reviewed the Guidelines range, he

        necessarily gave significant weight and consideration to the need to avoid


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        unwarranted disparities.” 552 U.S. at 54. Although here, unlike in Gall, the district

        court chose to leave defendant’s sentence within the guideline range, the district

        court did not abuse its discretion in considering unwarranted disparities.

              Similarly, this Court has rejected challenges to unwarranted disparities like

        the one defendant raises here. “[T]here are always variations in sentencing, which

        is a quintessentially fact-specific and multifaceted exercise.” United States v.

        Friend, 2 F.4th 369, 382 (4th Cir. 2021). For example, this Court considered a

        claim where a defendant claimed that “he was the least culpable among his

        coconspirators yet received a greater sentence” and pointed to cases where, he

        claimed “the defendant received lesser sentences even though their conduct was

        more egregious.” United States v. Chandia, 675 F.3d 329, 341–42 (4th Cir. 2012).

        This Court rejected the argument and held that “comparing the sentences of other

        defendants with dissimilar offenses, circumstances, and criminal histories is

        unavailing.” Id. at 342 (citing United States v. Abu Ali, 528 F.3d 210, 267 (4th Cir.

        2008)). “Courts have repeatedly made clear that comparisons of sentences may be

        treacherous because each sentencing proceeding is inescapably individualized or

        because some defendants possess, as here, a demonstrated propensity for criminal

        activity that is almost unique in its dimensions.” United States v. Rivera-Santana,

        668 F.3d 95, 105–06 (4th Cir. 2012). And even if a defendant’s “sentence is more

        severe than average, that fact does not mean that it was unwarranted. Put


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        succinctly, we are unwilling to isolate a possible ‘sentencing disparity to the

        exclusion of all the other § 3553(a) factors.’” Id. (quoting United States v. Winters,

        416 F.3d 856, 861 (8th Cir. 2005)).

              More generally, as this Court has explained, “[d]istrict courts have

        extremely broad discretion when determining the weight to be given each of the

        § 3553(a) factors.” United States v. Jeffery, 631 F.3d 669, 679 (4th Cir. 2011).

        And the Supreme Court has “held it ‘quite reasonabl[e]’ for the sentencing court to

        have ‘attached great weigh’ to a single factor.” United States v. Pauley, 511 F.3d

        468, 476 (4th Cir. 2007) (citing Gall, 552 U.S. at 59).

              And defendant cannot compare himself to defendants who chose to plead

        guilty or who cooperate with the government. See United States v. Pepper, 562

        U.S. 476, 503 (2011) (“But amicus points to no evidence, nor are we aware of any,

        suggesting that Congress enacted § 3553(a)(6) out of a concern with disparities

        resulting from the normal trial and sentencing process”) (citing United States v.

        LaBonte, 520 U.S. 751, 761–62 (1997) (disparity arising from prosecutorial

        discretion not unwarranted)).




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                                           Conclusion

              For the reasons stated above, this Court should affirm the judgment.

                                              Respectfully submitted,

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                                                               /s/
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                                              Assistant United States Attorney




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                              Statement Regarding Oral Argument

              The United States respectfully suggests that oral argument is not necessary

        in this case. The legal issues are not novel, and oral argument likely would not aid

        the Court in reaching its decision.



                                     Certificate of Compliance

              I certify that this brief was written using 14-point Times New Roman

        typeface and Microsoft Word 2016.

              I further certify that this brief does not exceed 13,000 words (and is

        specifically 5,854 words) as counted by Microsoft Word, excluding the table of

        contents, table of authorities, statement regarding oral argument, this certificate,

        the certificate of service, and any addendum.

              I understand that a material misrepresentation can result in the Court’s

        striking the brief and imposing sanctions.



                                                               /s/
                                              Richard D. Cooke
                                              Assistant United States Attorney




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